                                                               FILED
                                                          CHARLOTTE, NC
                                                         September 30, 2021
                                                        U.S. District Court
                                                      Western District of N.C.




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    18.    The defendant shall not go to, or remain at any place where he/she knows
          controlled substances are illegally sold, used, distributed, or administered
          without first obtaining the permission of the probation officer.

    19.    The defendant shall submit to a search if the probation officer has a reasonable
          suspicion that the defendant has committed a crime or a violation of a condition
          of supervised release. Such a search may be conducted by a U.S. Probation
          Officer, and such other law enforcement personnel as the probation officer may
          deem advisable, without a warrant or the consent of the defendant. Such search
          may be of any place where evidence of the above may reasonably be expected to
          be found, including defendant's person, property, house, residence,
          vehicle, communications or data storage devices or media, or office.

    20.     The defendant shall pay any financial obligation imposed by this Judgment
          remaining unpaid as of the commencement of the sentence of probation or the
          term of supervised release in accordance with the schedule of payments of this
          judgment. The defendant shall notify the court of any changes in economic
          circumstances that might affect the ability to pay this financial obligation.

    21.    The defendant shall support all dependents including any dependent child, or any
          person the defendant has been court ordered to support.

    22.     The defendant shall participate in transitional support services
          (including cognitive behavioral treatment programs) and follow the rules and
          regulations of such program. The probation officer will supervise the defendant's
          participation in the program (including, but not limited to, provider, location,
          modality, duration, intensity). Such programs may include group sessions led
          by a counselor or participation in a program administered by the probation
          officer.

    23.     The defendant shall follow the instructions of the probation officer related to
          the conditions of supervision.
         IT IS FURTHER ORDERED that the probation officer shall provide each
defendantwith a written statement that sets forth all conditions to which the sentence of
probation or term of supervised release is subject, and that is sufficiently clear and
specific to serve as a guide for the defendant's conduct and for such supervision as is
required, as set forth in 18 U.S.C. 3583(d) and 3583(f), respectfully.

         IT IS FURTHER ORDERED that this Order shall supersede any previous
order of the Court establishing standard conditions of probation or supervised release.




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